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                   UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF COLUMBIA


  NEW MEXICO CATTLE GROWERS’
  ASSOCIATION,

                                    Plaintiff,   No. 1:21-cv-3263-EGS

    v.

  UNITED STATES FISH AND WILDLIFE
  SERVICE, et al.,

                         Federal Defendants,

  CENTER FOR BIOLOGICAL DIVERSITY,
  MARICOPA AUDUBON SOCIETY.

                       Defendant-Intervenors.



                PLAINTIFF’S MOTION TO COMPEL
           COMPLETION OF THE ADMINISTRATIVE RECORD

APPENDIX: RELEVANT SECTIONS OF [PROPOSED] ADMINISTRATIVE RECORD




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FWS000384–FWS000385: Emails between Dr. Robert Zink, Professor, School of Natural
Resources and School of Biological Sciences, University of Nebraska, and Brady McGee, Fish &
Wildlife Biologist, U.S. Fish & Wildlife Serv. (July 1, 2016, and January 5, 2017)

FWS000791: Excerpt, Notice of 12-month petition finding and 5-year review, dated Aug. 17,
2017, FWS000785–876

FWS020345–FWS020356: Zink, Robert M., Genetics, morphology, and ecological niche
modeling do not support the subspecies status of the endangered Southwestern Willow
Flycatcher (Empidonax traillii extimus), 117 The Condor 76 (2015) [Zink (2015)]

FWS020357–FWS020366: Zink, Robert M., Current Topics in Avian Conservation Genetics
With Special Reference to the Southwestern Willow Flycatcher, 9 The Open Ornithology J. 60
(2016) [Zink (2016/2017)]




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From:             Robert Zink
To:               McGee, Brady
Cc:               Susan Jacobsen; Sarah Rinkevich; Steve Spangle; Greg Beatty
Subject:          Re: SWWF
Date:             Thursday, January 5, 2017 4:04:08 PM
Attachments:      zink swwf open ornith.pdf



Hi: published version attached.

Bob

Robert M. Zink
Professor, School of Natural Resources and School of Biological Sciences; Curator, Nebraska
State Museum
Author: The Three-Minute Outdoorsman
612 590 4215
"I have said that the man of science is the sworn interpreter of nature in the high court of reason. But of
what avail is his honest speech, if ignorance is the assessor of the judge, and prejudice the foreman of
the jury?" T. H. Huxley, 1860

“The towels were so thick there I could hardly close my suitcase.” Yogi Berra

From: Robert Zink
Sent: Monday, November 7, 2016 3:28:25 PM
To: McGee, Brady
Cc: Susan Jacobsen; Sarah Rinkevich; Steve Spangle; Greg Beatty
Subject: Re: SWWF

Hello: early I sent you a draft of my response to the critique of my SWWF paper. This paper is
now in press in the Open Ornithology Journal. A copy is attached, which might not be final
pending any last minute editorial changes, and it cannot be circulated beyond your staff or
cited, until I clarify with the journal.

Thanks

Bob Zink

From: McGee, Brady <brady_mcgee@fws.gov>
Sent: Friday, July 1, 2016 11:40:36 AM
To: Robert Zink
Cc: Susan Jacobsen; Sarah Rinkevich; Steve Spangle; Greg Beatty
Subject: Re: SWWF

Hi Dr. Zink,

Thank you for sending me your response. This is very helpful information.


                                                                                                  FWS000384
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Thanks,

Brady

-------------------------------
Brady McGee, Ph.D.
Branch Chief, Recovery and Restoration
U.S. Fish and Wildlife Service
Southwest Regional Office
500 Gold Avenue SW, Rm 6042
Albuquerque, NM 87102
505-248-6657; cell 505-908-8491

On Fri, Jul 1, 2016 at 10:27 AM, Robert Zink <rzink2@unl.edu> wrote:
 Dear Dr McGee: attached is my response to the Thiemer et al. 2016 paper in The Condor
 that is a critique of my earlier paper (Zink 2015) on the validity of the southwestern willow
 flycatcher (Empidonax traillii extimus). The Condor editor has refused to consider my
 response because of an editorial policy, not because of any scientific issues. I have appealed
 this decision to the joint AOU/COS publications committee.

  I am sending you this manuscript for internal USFWS use in your decision to delist the
  SWWF. Feel free to contact me with any questions. I will pursue publication of this, if not in
  Condor then in another journal. Thanks

  Bob Zink



  Robert M. Zink
  Professor, School of Natural Resources and School of Biological Sciences; Curator, Nebraska
  State Museum
  Author: The Three-Minute Outdoorsman
  612 590 4215
  "I have said that the man of science is the sworn interpreter of nature in the high court of reason. But of
  what avail is his honest speech, if ignorance is the assessor of the judge, and prejudice the foreman of
  the jury?" T. H. Huxley, 1860

  “The towels were so thick there I could hardly close my suitcase.” Yogi Berra




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                                                          FWS000791
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                                                                                                          Volume 117, 2015, pp. 76–86
                                                                                                         DOI: 10.1650/CONDOR-14-27.1

COMMENTARY

Genetics, morphology, and ecological niche modeling do not support the
subspecies status of the endangered Southwestern Willow Flycatcher
(Empidonax traillii extimus)
Robert M. Zink

Bell Museum and Department of Ecology, Evolution and Behavior, University of Minnesota, St. Paul, Minnesota, USA
zinkx003@umn.edu
Submitted February 15, 2014; Accepted November 7, 2014; Published January 21, 2015


   ABSTRACT
   The Willow Flycatcher (Empidonax traillii) breeds throughout much of the United States, northwestern Mexico, and
   southeastern and southwestern Canada. A subspecies found in the southwestern United States and northwestern
   Mexico, E. t. extimus (Southwestern Willow Flycatcher), is listed as endangered under the U.S. Endangered Species Act
   (ESA). This subspecies was described in 1948, based on comparisons of a few external morphological characters from
   an unstated number of specimens and localities, although it was excluded from the last official list of subspecies by the
   American Ornithologists’ Union. Like most avian subspecies, its validity has not been tested with modern
   morphological or genetic methods. Recent assessments of the subspecies have assumed it to be a distinct taxon, and
   some authors have limited their comparisons to E. t. extimus versus E. t. adastus (the subspecies immediately to the
   north of E. t. extimus), excluding comparison to western (E. t. brewsteri) and eastern (E. t. traillii) subspecies. To test
   subspecies limits, I reanalyzed available quantitative data on plumage coloration, and genetic variation in
   mitochondrial DNA and nuclear loci, and found no support for the distinctiveness of the Southwestern Willow
   Flycatcher. A test of niche divergence suggested that the Southwestern Willow Flycatcher does not have a significantly
   different climatic niche from its nearest geographic neighbor, E. t. adastus. I suggest that the Willow Flycatchers of the
   Southwest represent peripheral populations of an otherwise widespread species that do not merit subspecific
   recognition, and are therefore inappropriately listed as endangered under the ESA.
   Keywords: Endangered Species Act, mitochondrial DNA, niche modeling, plumage coloration, subspecies, Willow
   Flycatcher

   La genética, la morfologı́a y el modelado de nicho ecológico no apoyan el estatus de subespecie en
   peligro de extinción de Empidonax traillii extimus
   RESUMEN
   Empidonax traillii se reproduce a través de la mayorı́a de América del Norte al norte del noroeste de México. Una
   subespecie hallada en el sudoeste de Estados Unidos y noroeste de México, E. t. extimus, está listada como en peligro
   de extinción bajo la Ley de Especies Amenazadas de Estados Unidos. Esta subespecie fue descripta por primera vez en
   1948 en base a un número no especificado de especı́menes y localidades. Como la mayorı́a de las subespecies, su
   validez no ha sido evaluada usando métodos modernos morfológicos o genéticos. En cambio, los estudios publicados
   han asumido que la subespecie representa un taxón distintivo. El re-análisis de datos cuantitativos disponibles de la
   coloración del plumaje y la variación genética en el ADN mitocondrial y el loci nuclear no apoyan el carácter distintivo
   de E. t. extimus. Un examen de divergencia de nicho sugiere que E. t. extimus no presenta un nicho climático
   significativamente diferente de su vecino geográfico más cercano, E. t. adastus. Por ende, los individuos de E. traillii del
   sudoeste pertenecen a poblaciones periféricas de una especie ampliamente distribuida que no amerita un
   reconocimiento sub especı́fico, y por lo tanto se encuentra erróneamente listada como en peligro de extinción bajo la
   Ley de Especies Amenazadas.
   Palabras clave: ADN mitocondrial; coloración del plumaje; Empidonax traillii; Ley de Especies Amenazadas;
   modelado de nicho; subespecies

INTRODUCTION                                                            requires that subspecies and DPSs represent evolutionarily
                                                                        significant populations or groups of populations (Moritz
The U.S. Endangered Species Act (ESA) extends protec-                   1994). The reason for this expectation is that nearly all
tion to species, subspecies, and the distinct population                species show geographic variation in at least 1 morpho-
segment (DPS; vertebrates only). Application of the ESA                 logical, ecological, physiological, genetic, or behavioral


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R. M. Zink                                                                      Southwestern Willow Flycatcher subspecies limits   77



characteristic, and it is possible to subdivide this variation       contrast, if a subspecies is to be used in an analysis that
taxonomically in numerous ways without yielding evolu-               requires historically significant units, such as listing under
tionarily significant taxa. This situation is often suggested        the ESA, it should be based on, or evaluated with, modern
to reflect the subspecies category in general (Wilson and            molecular, morphological, and ecological methods.
Brown 1953); in ornithology, Remsen (2005:407) noted                   Here, I reanalyze published genetic (Paxton et al. 2008)
that ‘‘Widespread, long-standing dissatisfaction with                and morphological (Paxton et al. 2010) data to test the
subspecies-level designations in bird classification derives         validity of the endangered Southwestern Willow Flycatcher
from the historical fact that most bird subspecies were              (Empidonax traillii extimus). I also analyze all available
described in an era when quantitative methods were                   mitochondrial DNA (mtDNA) sequences in GenBank that
unavailable to assess their validity as entities.’’ Barrow-          have not been pooled previously. In addition, I used
clough (1982) noted that authors of comprehensive                    methods in ecological niche modeling (Warren et al. 2008,
quantitative surveys of geographic variation often avoided           2010) to determine whether the Southwestern Willow
trinomials whereas studies involving qualitative assess-             Flycatcher is ecologically distinct in its climatic niche. The
ments of color or a few study-skin measurements from a               goal was to analyze variation irrespective of a priori
few specimens that represented a few widespread sites                subspecies limits to determine whether there were
often included subspecies descriptions. These observations           geographic patterns in genetics, plumage coloration, or
led Barrowclough (1982:601) to remark that ‘‘This strongly           ecological niche dimensions that were consistent with
suggests to me that most subspecies are not to be taken              described subspecies limits or any other heretofore
too seriously.’’                                                     undiscovered geographically significant divisions.
   Others find intrinsic value in subspecies (Haig and
Winker 2010), and attempts have been made to define                  Review of Taxonomic History and Recent Studies
subspecies more rigorously (Patten 2010). Patten and Unitt           The Willow Flycatcher has been divided by taxonomists
(2002:26) suggested that ‘‘A subspecies is a collection of           into subspecies, with up to 7 having been recognized at
populations within a biological species that are diagnosably         some time in the past (Phillips 1948, Aldrich 1951, Behle
distinct from other such collections of populations.’’ The           1985). Most (e.g., Unitt 1987) consider the species to
question then is what is meant by ‘‘diagnosably.’’ Probably          include 4 subspecies: E. t. traillii, E. t. adastus, E. t.
all populations differ in some respect from other                    brewsteri, and E. t. extimus (Unitt 1987). Review of the
populations. For example, an individual in one area might            original subspecies descriptions (Brewster 1895, Oberhols-
have an allele that is found nowhere else, or there might be         er 1918, 1932, 1947, Phillips 1948, Aldrich 1951) reveals
an individual that is larger and darker-colored than any             that few specimens were examined from relatively few
other individual in the species. Although both of these              areas. For example, Oberholser (1918) described E. t.
unique phenotypes might represent the ‘‘raw material’’               brewsteri from a total of 13 male specimens taken from
from which the population could adapt to a changing                  Oregon, California, Arizona, New Mexico, and Colorado,
environment, few would consider this sufficient evidence             and a total of 10 females from Oregon, California, Arizona,
to warrant a subspecies designation if the criterion is that         and Utah. It is difficult to quantify the range of biological
they are diagnosably distinct. Barrowclough (1982) sug-              variation present within and among populations with such
gested that subspecies should be held to the same standard           sample sizes; although this may not have been a goal of
as all taxa, in that a taxonomic name at whatever rank               early taxonomists, it nonetheless obscured whether
should be predictive of concordant patterns of character             variation was clinal or discrete. The wide-ranging E. t.
variation. The ‘‘75% rule’’ (Amadon 1949) requires that              adastus was described by Oberholser (1932) on the basis of
‘‘75% of a population effectively must lie outside 99% of            specimens from Hart Mountain in the Warner Valley of
the range of other populations for a given defining                  south-central Oregon; Miller (1941) was unable to
character or set of characters’’ (Patten and Unitt                   distinguish this subspecies from others, whereas Aldrich
2002:27). I suggest that subspecies or other taxa protected          (1951) and Phillips (1948) believed it to be valid, although
under the ESA should be nearly (.95%) if not completely              there is disagreement over its distribution. In the
diagnosable (Cracraft et al. 1998).                                  description (Phillips 1948) of E. t. extimus, no sample
   The lack of a consistent definition of subspecies has             sizes were given and no statistical tests performed.
resulted in currently described subspecies ranging from              Although E. t. extimus was described in 1948, it was
evolutionarily distinct taxa to arbitrary divisions of               excluded from the most recent American Ornithologists’
geographic clines in single characters. Thus, some                   Union (AOU) Checklist that included subspecies (AOU
subspecies are not appropriate for certain scientific or             1957). However, taxonomic assessments of E. traillii have
conservation uses. If the goal of an investigator is to              included E. t. extimus after its original description, and it is
identify geographic patterns of potentially adaptive varia-          listed as an endangered subspecies under the ESA (U.S.
tion, all subspecies might be a useful starting point. By            Fish and Wildlife Service 1995).


                                       The Condor: Ornithological Applications 117:76–86, Q 2015 Cooper Ornithological Society




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78   Southwestern Willow Flycatcher subspecies limits                                                                     R. M. Zink



                                                                      debatable. Unitt (1987) stated that the most comprehen-
                                                                      sive study of geographic variation in Willow Flycatchers
                                                                      was by Aldrich (1951). Aldrich’s (1951) general review of
                                                                      the subspecies gave no lists of specimens, no values for
                                                                      measurements (except for his description of a new
                                                                      subspecies, E. t. campestris, which has subsequently been
                                                                      ignored), and no quantitative character analyses. Unitt
                                                                      (1987) used statistical analyses of character variation,
                                                                      although he too only compared preexisting subspecies
                                                                      limits. Browning (1993) did not perform statistical tests.
                                                                      Therefore, recent studies assumed, rather than tested,
                                                                      whether the data supported described subspecies limits.
                                                                         A fifth study (Sedgwick 2001) compared vocalizations of
                                                                      Willow Flycatchers from the Southwest, representing
                                                                      localities from within the range of E. t. adastus and E. t.
                                                                      extimus (again excluding comparison of E. t. extimus with
                                                                      E. t. brewsteri or E. t. traillii). The results suggested that
                                                                      part of the song of E. t. extimus differed from that of E. t.
                                                                      adastus. Given that Empidonax inherit their songs, it
                                                                      might indicate that genetic differentiation exists that was
FIGURE 1. Distribution of sample sites for genetics (triangle;        missed by mtDNA and AFLPs. However, Sedgwick’s
Paxton et al. 2008) and coloration (cross, excluding the eastern
United States; Paxton et al. 2010), with approximate boundaries       UPGMA phenogram that shows 2 distinct song groups
of named subspecies.                                                  was based on a reduced set of song characters that were
                                                                      chosen because they separated the 2 groups, whereas
                                                                      characters not showing the same (or a different) pattern
   Several recent studies have compared subspecies of                 were excluded. In addition, the 2 clusters did not group
Willow Flycatchers. In a genetic study, Paxton et al. (2008)          samples entirely by subspecies, and Sedwick (2001:366)
compared mtDNA sequences and amplified fragment                       concluded that his data suggested ‘‘moderate introgression
length polymorphisms (AFLPs) from nuclear DNA. Busch                  of extimus genes into the adastus gene pool.’’ Lastly, a
et al. (2000) and Paxton (2000) concentrated on AFLP                  sampling gap corresponded to the geographic division in
variation within and among subspecies. Paxton et al.                  song features, reducing the potential to detect gradation in
(2010) quantified variation in lightness, saturation, and hue         song characteristics between areas. Although the raw data
of the crown and back. Sample sites (Figure 1) for the 2              are not available, future studies of vocalizations are
larger recent studies (Paxton et al. 2008, 2010) excluded             warranted.
~75% of the range of E. t. adastus and ~50% of the range
of E. t. extimus. Furthermore, formal comparisons with the            METHODS
subspecies to the west (E. t. brewsteri) and east (E. t.
traillii) were not performed, making it unclear how the               Genetic Differentiation
study could evaluate the genetic distinctiveness of E. t.             Paxton et al. (2008) surveyed mtDNA and AFLPs within
extimus. Paxton et al. (2011) examined mtDNA sequences                and among E. t. adastus and E. t. extimus. The highly
from migrant individuals, as well as specimens represent-             variable AFLP data sets (Busch et al. 2000, Paxton 2000,
ing much of the breeding range of E. traillii (including all 4        Paxton et al. 2008) were less informative and did not
widely recognized subspecies). However, these studies did             conflict with conclusions drawn from the mtDNA data, and
not provide tests of subspecies limits. For example, Paxton           I did not reanalyze the AFLP data. Paxton et al. (2008)
et al. (2010:131) stated that ‘‘Because this study was                documented the occurrence of 33 mtDNA haplotypes at
intended to distinguish among established taxonomic                   the cytochrome b locus in 145 individuals across 25
units, we grouped breeding sites a priori into one of the             breeding sites in Arizona (7 sites), New Mexico (4 sites),
four subspecies based on geographic ranges delineated via             Colorado (7 sites), and Utah (7 sites). Assuming that table 2
morphological studies (Unitt 1987, Browning 1993).’’                  in Paxton et al. (2008) is correct, haplotype C2 in GenBank
However, the samples of E. t. traillii were .1,000 km                 (AF297261) is incorrect because it has an ‘‘A’’ instead of a
from the nearest sample of E. t. adastus or E. t. extimus,            ‘‘G’’ at position 708. I reanalyzed the cytochrome b data
and the samples of western E. t. brewsteri were .900 km               from Paxton et al. (2008) using Arlequin version 3.5.1.3
from the nearest E. t. extimus locality. I contend that the           (Excoffier and Lischer 2010) to compute FST, a measure of
assertion that the subspecies limits are ‘‘established’’ is           pairwise population differentiation that theoretically ranges


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R. M. Zink                                                                     Southwestern Willow Flycatcher subspecies limits   79



from zero (absence of geographic structure) to 1 (fixation),        Ecological Niche Modeling
and an analysis of molecular variance (AMOVA), which                The occurrence of Willow Flycatchers in riparian areas of
estimates the proportion of genetic variance attributable to        the arid Southwest might be associated with significant
various geographic groupings of populations. Paxton et al.          ecological distinctiveness from flycatchers breeding else-
(2011:611) sequenced ‘‘316 individuals sampled at 91 sites          where and representing different subspecies. Thus, in lieu
on the breeding grounds’’ that represented 62 haplotypes.           of morphological or genetic distinctiveness of E. t. extimus,
A search of GenBank (December 13, 2013) found 93                    listing under the ESA could be based on ecological
haplotypes for E. traillii, but there is no corresponding           distinctiveness and significance at either the subspecies
information on their frequencies or geographic origins,             or DPS level (U.S. Fish and Wildlife Service and National
although some are from wintering or migrant individuals             Marine Fisheries Service 1996). I constructed correlative
(Paxton et al. 2011). Although the geographic localities are        ecological niche models (ENMs; Peterson 2001, Elith et al.
not given with the GenBank submissions, Paxton et al.               2011) using breeding records from the Breeding Bird
(2011) stated that the sequences represent breeding                 Survey (accessed at http://www.pwrc.usgs.gov/bbs) and
individuals from E. t. adastus, E. t. extimus, E. t. traillii       Ornis2 (http://ornis2.ornisnet.org/) that were input into
(New York, Tennessee, Illinois, North Carolina, Virginia,           Maxent version 3.2.2. (Phillips et al. 2006). I divided
North Dakota, South Dakota, Minnesota, and Maryland),               locality points into those representing E. t. extimus (n ¼
and E. t. brewsteri (Washington, Oregon, and California),           204) and E. t. adastus (n ¼ 269), limiting the latter taxon to
providing considerable coverage of the breeding range               localities south of 498N so as to equalize the areas of the 2
(excluding western Canada and the Maritime provinces). I            subspecies compared and to avoid confounding variation
used Mega6 (Tamura et al. 2013) to construct a neighbor-            due to distance with that among putative taxa. There is
joining tree (distance ¼ P value) with 1,000 bootstrapped           concern (Unitt 1987) that male E. t. brewsteri, at least in
replicates, of all 93 haplotypes available in GenBank.              California, sing during their migration through the range
Despite uncertainty over the exact geographic origins of            of E. t. extimus, confounding identification of breeding
haplotypes, if there was significant geographic structure in        localities from vocalization records (such as the Breeding
the species range, it would be recovered by this analysis in        Bird Survey). Unitt (1987) suggested that only singing male
the form of significantly supported nodes in the tree.              E. t. extimus noted after June 20 should be considered
                                                                    breeders, but in the same paper he cited verified breeding
Morphological Variation                                             dates in May (9, 16, 22, and 26) and early June (5, 12, and
The only available quantitative data (at the level of               13). Considering data on egg sets, Unitt (1987:158) wrote
individuals) that allow testing subspecies limits are from          that ‘‘On the basis of 187 dated sets, extimus usually begins
Paxton et al. (2010), who used a colorimeter to measure             nesting about 1 June. The sets range in date from 24 May
lightness, saturation, and hue on the back and crown of             to 30 July; the mean date is 16 June.’’ This suggests that
374 live-captured individuals from 29 locations. ‘‘Light-           male E. t. extimus must sing much earlier when
ness’’ is a measure of how light or dark the color is,              establishing territories. To be conservative, I performed a
whereas saturation and hue reveal color direction in 2-             second niche model in which only localities of singing
dimensional space. They found that coloration changed               males noted after June 16 were used (40 E. t. extimus and
over time because of feather wear, and adjusted values for          100 random localities drawn from 184 breeding records of
the date measurements were taken by ‘‘multiplying the               E. t. adastus). Climate data (19 layers) were obtained from
regression coefficient (b) by the date (day of year) starting       the Worldclim bioclimatic database (Hijmans et al. 2005).
from the earliest capture date (9 May, day of year_129).               To determine whether these 2 subspecies differ in niche
These seasonally adjusted color values were used for all            characteristics, I used the niche identity test and the
subsequent analyses.’’ E. Paxton (personal communica-               background test for niche divergence in ENM Tools
tion) provided a copy of the adjusted color values (minus           (Warren et al. 2008, 2010). The niche identity test involved
the sample from Rush Creek, California). Paxton et al.              100 iterations of randomized locality points for the 2
(2010) divided their samples of breeding individuals into E.        subspecies (maintaining the original number of points for
t. adastus (5 locations, 69 individuals), E. t. brewsteri (3,       each group), with an ENM constructed for each group in
38), E. t. extimus (7, 123), E. t. traillii (5, 39), and            Maxent using the randomized points, followed by
‘‘boundary’’ (9, 77). The boundary category included                calculation of the degree of niche overlap. Schoener’s D
sampling sites between ‘‘core’’ E. t. adastus and E. t.             (for details, see Warren et al. 2008, 2010) was used as a
extimus, although Paxton et al. (2008) previously classified        measure of niche overlap; it ranges from 0 to 1, with 1
3 sites (CCCO, DELT, and FICR) as E. t. adastus and 1               indicating complete overlap. If the observed niche overlap
(MCSP) as E. t. extimus. I analyzed the color data using            value is ,95% of the randomized niche overlap values (1-
principal component analysis, plotting individuals on               tailed test), then the climatic niches of the 2 species are
orthogonal axes.                                                    considered significantly different.


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80   Southwestern Willow Flycatcher subspecies limits                                                                      R. M. Zink



   The niche identity test assumes that populations                  conclusion (Paxton et al. 2008:9) that there is a ‘‘rapid
‘‘tolerate the exact same set of environmental conditions            change in [haplotype] frequencies at the boundary’’
and have the same suite of environmental conditions                  between the subspecies. Paxton et al. (2008) also
available to them’’ (Warren et al. 2011:17). Thus, it is             considered how grouping samples into subspecies by
possible to obtain a significant niche identity test if              moving the boundary north or south affected the amount
populations live in differing environments, but this does            of genetic variation explained by an AMOVA. This
not mean, necessarily, that the species have diverged                exercise was intended to determine whether a new
ecologically, only that they are able to survive in different        subspecies boundary would explain more of the genetic
climates because of ecological plasticity. Hence, the                variance than the current one. Although there was an
appropriate test for evaluating whether niches are                   effect brought about by changing the boundary, it was not
significantly divergent is the background test, which allows         possible to identify a clear and objective boundary. Paxton
one to assess ‘‘whether two species are more or less similar         et al. (2008) constructed a UPGMA dendrogram (their fig.
than expected based on the differences in the environ-               2) to display the spatial pattern of genetic variation. They
mental background in which they occur’’ (Warren et al.               found 2 clusters, 1 including populations of E. t. extimus
2011:19). The background test involves multiple iterations           and the other a mixture of both subspecies, which does not
in which the niche overlap is calculated between 1 taxon’s           support the subspecies as described. In addition, the
ENM and an ENM constructed from random points                        algorithm used to construct UPGMA phenograms results
(obtained from Hawth’s Tools [Beyer 2004] in ArcGIS9)                in the ‘‘root’’ being placed at the midpoint of the largest
within the range of the second taxon, where the number of            pairwise genetic distance. If the sample of localities is
random points is the same as the number of actual points             biased geographically, the appearance of 2 clades could
for that taxon (subspecies in the present study). Tests are          recover the pattern of sampling. Even if there were a root
conducted in both directions. The observed niche overlap             to the phenogram, there could be no support for E. t.
between 2 species’ ENMs is compared with the distribu-               extimis, given the topology.
tion of overlap values from the runs in each direction to                Paxton et al. (2008) plotted a graph (their fig. 3) of the
determine whether species’ niches are significantly more             frequency of the C-group mtDNA haplotypes versus
or less divergent than expected (2-tailed test). Rejection of        latitude that purports to show a relatively sharp transition
the null hypothesis (of niche identity) indicates that               between E. t. extimus and E. t. adastus. Contrary to Paxton
observed niche differences are a function of habitat                 et al.’s (2008) figure legend, their figure 3 is not a plot of C-
selection and/or availability. If niches overlap more than           group haplotypes versus latitude but, instead, haplotype
expected, it is often interpreted as evidence for niche              frequencies versus a function of latitude and elevation. It is
conservatism; if niches overlap less than expected, one can          unusual to plot a subspecies boundary in this way, and
assume niche divergence (Warren et al. 2008, 2010,                   elevation was not a part of the original subspecies
McCormack et al. 2010). Only in the case of niche                    descriptions (reviewed above), which are based solely on
divergence would one assume that E. t. adastus and E. t.             latitude and longitude.
extimus had evolved ecological distinctiveness.                          New analyses. I was unable to determine a clear genetic
                                                                     boundary by varying the populations included in an
RESULTS                                                              AMOVA. I plotted (Figure 2) the data from Paxton et
                                                                     al.’s (2008) table 2; these data show a gradual transition
Patterns of Genetic Differentiation                                  between E. t. extimus and E. t. adastus and, therefore, do
   Review of prior studies. Paxton et al. (2008) found no            not support a sharp genetic transition in C-group
fixed mtDNA differences between E. t. adastus and E. t.              haplotypes.
extimus. A large percentage of individuals (30%) possessed               The neighbor-joining tree (not shown) for all 93 unique
a common haplotype (‘‘C1’’), which was found in 16                   haplotypes was not consistent with distinct groupings, and
localities, although small samples precluded definitive              the highest bootstrap basal nodal support was 29%.
evidence of absence. A second haplotype, D1, was also                Therefore, although the samples were identified only to
found in 16 localities although in fewer individuals, and no         U.S. state of origin, there is no phylogenetic structure that
special significance was attached to it by Paxton et al.             could be associated with distinct geographic groupings or
(2008). A significant isolation-by-distance (IBD) effect was         named subspecies.
found using Mantel’s (1967) test when considering all
samples, which indicates that genetic differences increase           Patterns of Morphological Differentiation
with geographic distance between samples. Paxton et al.                Review of prior studies. Paxton et al. (2010) conducted
(2008) did not observe a significant IBD effect within either        several analyses, such as a canonical discriminant analysis
subspecies, although the geographic distances were much              to ‘‘represent the linear relationship of the plumage
smaller and, hence, do not obviously support their                   coloration by subspecies’’ (Paxton et al. 2010:131).


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R. M. Zink                                                                        Southwestern Willow Flycatcher subspecies limits   81



                                                                       value for the breeding sites tended to cluster together by
                                                                       subspecies’’ and that the data indicated ‘‘intergradation
                                                                       among the subspecies, consistent with a molecular genetic
                                                                       study,’’ that being Paxton et al. (2008).
                                                                          New analyses. To test the validity of subspecies, I did
                                                                       not group specimens into a priori subspecies, because that
                                                                       process is circular. In Figure 3, I plot the relationship
                                                                       among individuals in E. t. adastus, E. t. brewsteri, E. t.
                                                                       extimus, and individuals from boundary locations on PC1
                                                                       and PC2. The subspecies are not separated; instead, there
                                                                       is a gradation of variation among them.

                                                                       Ecological Niche Modeling
FIGURE 2. Plot showing a smooth, clinal relationship between           The observed niche overlap (Schoener’s D ¼ 0.17) was
the latitude of the breeding site and the frequency of the C-          much less than the distribution of random values (Figure
group haplotypes for cytochrome b data from Paxton et al. 2008         4A), which indicates that niche overlap between the
(their table 2).                                                       subspecies is less than expected at random. However,
                                                                       comparison of the 2 subspecies did not yield a significant
However, this model was built ‘‘using only large sample                background test (Figure 4B), which suggests that the
sites within the core area of each subspecies,’’ thereby               observed niche-identity difference is explained by geo-
excluding the boundary sites. Representative conclusions               graphic variation in the environmental conditions available
included ‘‘While there is overlap in the color values of               to each subspecies within their respective ranges (Warren
individual flycatchers from the different subspecies, mean             et al. 2008, 2010, McCormack et al. 2010). That is, the




FIGURE 3. Plot of the distribution of 363 individual Willow Flycatchers from 3 subspecies, and boundary localities for the first 2
principal components (PC) based on analysis of 6 color variables (from Paxton et al. 2010). PC1 (horizontal axis) explains 39% of the
variation, and PC2 (vertical axis) explains 27%. Note that the subspecies are not distinct and overlap greatly with each other and the
boundary locations.



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82   Southwestern Willow Flycatcher subspecies limits                                                                         R. M. Zink




                                                                       FIGURE 5. Distribution of FST values between populations within
                                                                       (black bars) and between (gray bars) subspecies in the Willow
                                                                       Flycatcher (data reported by Paxton et al. 2008). The 2
                                                                       distributions overlap greatly, a result of a gradual transition of
                                                                       genetic variation and a lack of support for distinct subspecies.


                                                                       cannot be made unambiguously based on genetic data and
FIGURE 4. (A) Results of a niche identity test for E. t. extimus       thus becomes a value judgment dependent on the
versus E. t. adastus (100 random repetitions), showing that the        philosophy of policy makers.’’ I would argue that if the
observed niche identity (Schoener’s D; arrow) is much less than        best available data do not support 2 subspecies, the
expected by chance (black bars) and that the 2 subspecies use          philosophy of policymakers is irrelevant. Furthermore, the
different niche characteristics. (B) Results of a background test
for niche divergence between E. t. extimus and E. t. adastus,
                                                                       exclusion of comparisons of E. t. extimus with E. t.
showing that although the subspecies use different niche               brewsteri and E. t. traillii is a serious omission, because the
characteristics, they apparently do not exhibit significant niche      validity of E. t. extimus cannot be established without
divergence. If the subspecies had divergent niches, the observed       testing whether it is distinctive from all geographically
Schoener’s D would be less than the random distribution shown          adjacent neighbors. My analysis of all mtDNA sequences
by the histogram.
                                                                       in GenBank suggests that none of the subspecies is
                                                                       genetically distinct.
subspecies are using common environmental features as                     Some authors, as well as the U.S. Fish and Wildlife
often as one would expect by chance—hence, the species                 Service (2011), have concluded that mtDNA alone is
likely has a broad ecological (climatic) tolerance, at least in        insufficient to judge the validity of avian subspecies (Zink
the area studied, and does not show significant ecological             et al. 2013). Zink and Barrowclough (2008) pointed out
divergence in climate niche dimensions. The same results               that mtDNA has a greater chance than nuclear loci of
(not shown) were obtained for the analyses of the samples              detecting genetic differences between recently isolated
restricted to a temporal window that was designed to                   populations and subspecies, owing to the more rapid
exclude migrant birds (see above).                                     coalescence time of mtDNA. Thus, in species without
                                                                       geographically structured mtDNA variation, there is a very
DISCUSSION                                                             low likelihood of differentiation at nuclear loci (Lee and
                                                                       Edwards 2008, Hung et al. 2012). However, because some
Genetic Differentiation                                                exceptions exist (Toews and Brelsford 2012), it is
Empidonax t. extimus is not supported by published                     important that Paxton (2000) analyzed 197 polymorphic
genetic (mtDNA or nuclear AFLPs) data as a distinct                    nuclear AFLP markers, although low by modern standards,
entity. This result can be illustrated by plotting FST values          and found no geographic structure that corresponded to
within and between subspecies (Figure 5). The 2 distribu-              subspecies limits.
tions overlap because the subspecies boundary is situated
arbitrarily on a cline in allele frequencies. The lack of              Morphological Differentiation
genetic support was noted by Paxton et al. (2008:16):                  The genus Empidonax is known for a high number of
‘‘[T]he evidence for a region of intergradation suggests               sibling species, which are defined as closely related species
there is little support biologically for the legal necessity of        that lack distinctive morphologies. Hence, one might
designating a boundary line. As a result, designating the              suggest that analyses of morphology would be uninforma-
location of a discrete line separating the 2 subspecies                tive for assessing taxonomic limits below the species level


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R. M. Zink                                                                       Southwestern Willow Flycatcher subspecies limits   83




FIGURE 6. Plot of the average score for individuals from 28 sites on principal component 2 (PC2; from analysis of 6 adjusted color
variables) versus latitude (from Paxton et al. 2010), showing that if only the geographic extremes were compared, it would give the
illusion of statistical significance—when, in fact, there is gradual variation between sites.


(e.g., subspecies). However, each of the subspecies was               Rising 2001, McKay 2008, Skalski et al. 2008) would
described as having differing coloration. For example, E. t.          reinforce the results from the analysis of coloration. The
traillii is described as having ‘‘Entire head, neck and upper         importance of proper sampling is critical. As noted above,
parts greenish and relatively uniform’’ (Phillips 1948:508).          Paxton et al. (2010) excluded boundary samples and tested
Empidonax t. adastus was described as ‘‘Head (especially              for differences between core areas. The problem with these
sides of neck) grayish, more contrasted with the back than            tests can be appreciated by inspection of Figure 6, which is
in traillii or alascnesis; back duller and more grayish               a plot of PC2 values versus latitude, showing a gradual
green’’ (Phillips 1948:510). Empidonax t. extimus was                 geographic progression. If only samples from 32–368N and
considered ‘‘The palest race of E. traillii. Adults most              45–498N were compared (putative core areas), there would
closely resemble adastus, but are even paler above’’                  likely be a statistically significant difference, whereas
(Phillips 1948:513). Phillips (1948:510) stated that speci-           inclusion of intermediate samples reveals the biased nature
mens of E. t. adastus were ‘‘practically identical with those         of that inference.
of E. t. extimus.’’ Phillips (1948:514) also remarked that ‘‘A           It is also a concern that Paxton et al. (2010) obtained
male in peculiar, retarded plumage from the Gallinas River            data from living specimens that were released, eliminating
at Las Vegas, New Mexico, May 23, seems to be typical                 the possibility of others verifying their measurements.
extimus.’’ Presumably, Phillips meant that it was unusual             Although analysis of museum specimens is preferable,
to find a spring male that had not yet molted out of its              there are insufficient specimens in collections, and it is not
previous plumage, but he does not describe diagnostic                 feasible to collect a large series of museum specimens of
plumage characteristics of the subspecies at different                this endangered bird.
plumage stages, so it is not clear how he ascertained that
it was ‘‘typical.’’                                                   Ecological Distinctiveness
   The differences in coloration noted in the subspecies              Hatten et al. (2010) provided a perspective on the habitat of
descriptions make relevant the quantitative data on head              E. t. extimus but did not make quantitative tests of niche
and back coloration of Paxton et al. (2010). Analyses of              differentiation. I found that niche identities for populations
these color data did not support the subspecies limits,               from different areas differ more than expected by chance
because the coloration grades between them. I predict that            (Figure 4A), which is understandable given the large degree
a multivariate analysis of standard morphological charac-             of environmental variation that exists across the range. The
ters from samples throughout the range (e.g., Zink 1986,              insignificant background test (Figure 4B) suggests that the


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84   Southwestern Willow Flycatcher subspecies limits                                                                      R. M. Zink



species might have a broad ecological tolerance (e.g.,                Owens (2006) found that, on average, temperate-breeding
plasticity) that allows it to exist across a broad range of           bird species possess ~2 evolutionarily significant units per
environmental conditions without evolving special ecolog-             species, based on patterns of genetic variation at neutral
ical adaptations, at least in the western portion of the range.       loci (e.g., mtDNA). In my opinion, if the Southwestern
Therefore, the available data do not support the South-               Willow flycatcher corresponded to such a unit, it would be
western Willow Flycatcher as being ecologically distinct,             qualified for listing, but the available data are not in
although future studies might identify niche dimensions               support. In general, molecular data indicate that the
other than climate that could distinguish taxa.                       number of listable avian taxa is twice the number of
                                                                      species but considerably less than the number of
Subspecies Limits and Conservation                                    subspecies.
The subspecies of Willow Flycatcher, including the                       I am concerned that a double standard may exist among
Southwestern Willow Flycatcher (E. t. extimus), were                  conservation biologists involving the nature of data
described using traditional methods that involved few                 required for listing under the ESA. For example, the U.S.
specimens scattered from throughout the range, and few                Fish and Wildlife Service has relied on results of mtDNA
characters that were not analyzed quantitatively or multi-            studies in .80 cases since 1989, although they (U.S. Fish
variately. Although this was typical for the era when most            and Wildlife Service 2011) did not accept mtDNA evidence
subspecies were described (Zink and Remsen 1986), use of              that suggested that the California Gnatcatcher (Polioptila
subspecies for many modern applications requires assess-              californica californica) was not distinct (Zink et al. 2013). I
ment of their diagnosability. The present study found that            suspect that if there were a pattern of reciprocal
molecular, morphological, and ecological data did not                 monophyly in the mtDNA of Southwestern Willow
support the Southwestern Willow Flycatcher as a distinct              Flycatchers, many would consider it sufficient to establish
subspecies (or DPS). It would seem that the most recent               the evolutionary-independence requisite for ESA listing.
official checklist of subspecies of North American birds              However, this was not the case, and some will claim that
(AOU 1957) was prescient in excluding E. t. extimus.                  investigators have just not studied enough characters to
Hence, the Willow Flycatchers of the Southwest represent              disprove a hypothesis of no distinctiveness. Listing under
peripheral populations of an otherwise widespread species             the ESA requires the best available scientific and
that do not merit subspecific recognition and are therefore           commercial data—which, in the case of the Southwestern
inappropriately listed as endangered under the ESA.                   Willow Flycatcher, are not currently supportive of its
   The ESA was designed to protect distinct elements of               status. It is important to recognize that sometimes it is
biodiversity. The U.S. Congress directed the Fish and                 necessary to make a listing or delisting decision and not
Wildlife Service to use the ESA ‘‘sparingly’’ when listing            wait for a new technique that might provide a different
distinct population segments (Bernhardt 2008), and it                 answer.
would follow that listed taxa should be strongly differen-               It is fair to ponder what new data or analyses might be
tiated in at least 1 genetically based character set. The             relevant. I noted above that a thorough study of
importance of listing only distinct subspecies is revealed by         vocalizations could be useful. I do not think there are
the cost of endangered species conservation. McCarthy et              enough specimens in museums to conduct a decisive
al. (2012) estimated that $1 billion is needed annually to            morphological analysis, and although live specimens could
reduce the threat level of globally threatened bird species,          be measured and released, it is my opinion that the data
obviously an unrealistic level of support. Perhaps, going             cannot be combined with museum specimens, and that all
forward, the null hypothesis for avian subspecies should be           specimens, whether live or in museums, should be
that they are not appropriate for listing without a modern            measured multiple times by the same observer to minimize
assessment of their validity.                                         and quantify measurement error (Rojas-Soto 2003). The
                                                                      other new horizon in geographic variation research
Future Directions                                                     involves the use of ‘‘genomics,’’ or surveys of large
In a sample of 234 North American songbird species, the               numbers of loci (Lerner and Fleischer 2010). It remains
average number of subspecies is 3.34 (R. M. Zink personal             to be seen whether genomics will reveal patterns of
observation). Hence, a primary question: What attributes              geographic variation that will corroborate the limits of
would qualify a subspecies for recognition as an evolu-               most avian subspecies, or instead will reveal myriad
tionarily significant unit, appropriate for listing under the         geographic patterns that defy a simple interpretation. It
ESA? Barrowclough (1982) suggested that a subspecies                  will also be of interest to observe whether genomic studies
name should be predictive of concordant patterns of                   that fail to support subspecies limits are also considered
variation in multiple characters. This criterion would                inadequate in some way. That is, one might wonder what
eliminate many named subspecies, including the South-                 technique will supplant genomics or whether we have
western Willow Flycatcher. Zink (2004) and Phillimore and             indeed achieved the holy grail of molecular methods.


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R. M. Zink                                                                                Southwestern Willow Flycatcher subspecies limits        85



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              LETTER
Current Topics in Avian Conservation Genetics with Special
Reference to the Southwestern Willow Flycatcher
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Abstract: It is sometimes said that scientists are entitled to their own opinions but not their own set of facts. This suggests that
application of the scientific method ought to lead to a single conclusion from a given set of data. However, sometimes scientists have
conflicting opinions about which analytical methods are most appropriate or which subsets of existing data are most relevant,
resulting in different conclusions. Thus, scientists might actually lay claim to different sets of facts. However, if a contrary
conclusion is reached by selecting a subset of data, this conclusion should be carefully scrutinized to determine whether
consideration of the full data set leads to different conclusions. This is important because conservation agencies are required to
consider all of the best available data and make a decision based on them. Therefore, exploring reasons why different conclusions are
reached from the same body of data has relevance for management of species. The purpose of this paper was to explore how two
groups of researchers can examine the same data and reach opposite conclusions in the case of the taxonomy of the endangered
subspecies Southwestern Willow Flycatcher (Empidonax traillii extimus). It was shown that use of subsets of data and characters
rather than reliance on entire data sets can explain conflicting conclusions. It was recommend that agencies tasked with making
conservation decisions rely on analyses that include all relevant molecular, ecological, behavioral, and morphological data, which in
this case show that the subspecies is not valid, and hence its listing is likely not warranted.

Keywords: Endangered species act, Southwestern willow flycatcher, Subspecies, Mitochondrial DNA, Plumage coloration,
Phylogeography.

INTRODUCTION
    Decisions to list a species as threatened or endangered can draw on several sources of information, including
population demography, habitat loss, taxonomy, and the genetic characteristics of the population considered at risk. It is
also the case that some listing decisions can be reversed if the population, subspecies or species recovers, or it was
subsequently determined that the original listing of a subspecies was unwarranted owing to “data error”. The latter
occurs relatively frequently when subspecies, often named a century ago, are used at face value as valid taxa by listing
agencies. In many cases, modern taxonomic methods find that such subspecies are not supported by analyses of modern
genetic or morphological data [1, 2]. Unfortunately, in some cases, the subspecies are considered flagships upon which
the preservation of an area is based. The coastal California Gnatcatcher (Polioptila californica californica) is one such
subspecies, serving as a flagship for the Coastal Sage Scrub of southern California and northwestern Baja California,
and there is vigorous debate as to its validity [3 - 6]. In this and other examples, different groups of scientists publish
peer-reviewed papers that reach different conclusions from the same body of existing data, sometimes by differentially
weighting particular pieces of evidence, or by excluding some evidence.
     Contrary null hypotheses can play a role. For example, there is an argument from “negative evidence”, which in


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essence says no matter how many data sets document a lack of genetic or morphological differences among populations
thought to be threatened or endangered, no decision can be made [6]. However, the theoretical expectation for
populations that are connected by gene flow is that they will show no diagnostic differences, e.g., they are not
evolutionarily distinct units. Thus, the data showing no differences among subspecific taxa are in fact positive and
support this null hypothesis [5]. Often, when data emerge that support this null expectation, critics ignore the conclusion
by applying the “negative data” tag. Indeed, one cannot disprove a hypothesis of no differences, as it would require an
infinite number of data sets. Thus, if multiple lines of evidence do not support a subspecies as valid, but others argue the
evidence is "negative" or future studies might reveal diagnostic differences, a conundrum is created for agencies tasked
with making decisions based on the best available data, and not waiting for some unknown point in the future when new
data might emerge. For example, in a recent decision to retain the coastal California Gnatcatcher as Threatened under
the U.S. Endangered Species Act [ESA; 7], the U.S. Fish and Wildlife Service essentially redefined the word
“available” and called for additional data, rather than acting on what was available at the time. There were no “positive”
data cited in support of the subspecies, and in effect they favored a subspecies taxonomy almost a century old despite
modern evidence to the contrary. This of course sets a precedent for any listing agency to avoid decisions that are
compatible with existing data if they are politically unfavorable, and defer to future data with unknown timeframes and
conclusions under the “negative data paradigm”. In my opinion the USFWS acted in a way that is at odds with the
intent of the phrase “best available commercial and scientific data” required by the ESA.
    In this paper, conclusions reached from the same sets of data concerning the taxonomic distinctiveness of an
endangered passerine bird of the American Southwest, the southwestern willow flycatcher (Empidonax traillii extimus)
are compared. Many parallels exist with the coastal California Gnatcatcher. Analyses based on all relevant data show
that the best available data do not support the taxon and it is recommended that agency decisions regarding listing or
delisting are based on full data sets.

BACKGROUND
    The southwestern willow flycatcher (hereafter SWWF) is part of a widely distributed and common species, the
willow flycatcher (E. traillii). Partners in Flight estimate a North American population of E. traillii at 9,100,000
(http://rmbo.org/pifpopestimates/Database.aspx; accessed 10 June 2016), although the species is clearly not dense in the
southwest where populations are considered to represent E. t. extimus, although these local populations are increasing
[8]. The SWWF represents a distributional extreme in the American Southwest, where it inhabits riparian habitats.
Concern over habitat loss and concomitant reduction in populations led to its listing as endangered under the U.S. ESA
in 1995 [9]. A petition to delist the subspecies was filed [10].
    Listing of the SWWF was based on the assumption that it is a valid taxonomic entity. Zink [11] analyzed existing
data on mitochondrial DNA (mtDNA), plumage coloration, ecological niches, and song, and concluded that the
Southwestern Willow Flycatcher is not a valid subspecies. That is, in the parlance of the ESA, the listing was based on
original data error. If true, implications exist for its continued listing. Theimer et al. [12] argue that some of the data
presented by Zink [11] support the subspecies. Thus, this represents an instance in which two groups of researchers
examine the same data and come to different conclusions. This divergence of opinions is explored in this paper, and
examined how differing interpretations of the ESA, and uses of subsets of data lead to apparently contrasting taxonomic
conclusions.

Taxonomy, Range, and Interpreting the U.S. Endangered Species Act
    The fundamental units that can be listed under the ESA are taxonomic categories, which have been notoriously
labile and contentious. For example, many have argued the efficacy of the subspecies category, with some maintaining
its value [13], others concluding that subspecies are rarely valid [14, 15]. Although this begs the question of whether
subspecies per se are bad, or there are just bad subspecies, a majority of molecular studies support 50% of subspecies at
best, mostly in tropical or island situations [2].
    The taxonomy of the Willow Flycatcher was addressed by several authors [16 - 21]. The SWWF was described by
Phillips [22] in 1948. Its description was based on subtle differences in coloration and measurements, although no
statistical comparisons were presented in the original description [22]. The source accepted by most agencies and
journals as the taxonomic authority for North American birds, is the Checklist produced by the American
Ornithologists’ Union (AOU; as of this writing, the AOU and the Cooper Ornithological Society have merged and will
be known together as the American Ornithological Society (AOS)). This checklist listed subspecies until 1957, whereas




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subsequent checklists included only species. It is important to note that although Phillips’ (1948) description of the
SWWF was in the Auk, the official publication of the AOU, the 1957 AOU Checklist [23] did not include it. That is,
the AOU did not consider it a valid subspecies. However, the U. S. Fish and Wildlife Service considered it valid,
despite conflicting scientific opinions [18, 20, 21].
    Comparing opinions on the ranges of subspecies shows considerable disagreement among these authors. For
example, Unitt [20] stated that “Phillips (1948) and Aldrich (1951) included southern California in the breeding range
of brewsteri, but this study shows that instead extimus occupies this area.” In my opinion, if the subspecies was a
distinct evolutionary unit, it should be straightforward to define range boundaries.
    It is important to consider how agencies interpret taxonomic categories relative to interpretations by researchers.
Theimer et al. [12] cite a portion of a 1973 amendment to the ESA concerning taxonomic categories, which stated that
protection could be applied to “any subspecies of fish or wildlife or plants, and any distinct population segment of any
species of vertebrate fish or wildlife which interbreeds when mature”. The Endangered Species Act in 1973 defined
“species” to include “subspecies of fish or wildlife or plants and any other group of fish or wildlife of the same species
or smaller taxa in common spatial arrangement that interbreed when mature.” The U.S. Fish and Wildlife Service
interpreted the definition to authorize the listing of populations, subspecies and species. In 1978, Congress clarified the
definition of “species” to authorize the listing of “distinct population segments” of species of vertebrate species of fish
or wildlife (16 U.S.C. § 1532(16)). The 1978 amendments limited the population listing authority to avoid trivializing
the ESA by “protect[ing] peripheral populations,” especially because “many common species are uncommon or rare at
the edge of their range” [24]. In 1996, the U.S. Fish and Wildlife Service [25] interpreted the 1978 “distinct population
segment” amendment to the definition of species to require a determination that a population is both (1) discrete in
relation to the remainder of the species to which it belongs, and (2) significant to the species to which it belongs. As
explained by the U.S. Fish and Wildlife Service: “Congress has instructed the Secretary to exercise this authority with
regard to DPS’s . . . sparingly and only when the biological evidence indicates that such action is warranted.” (Senate
                th            st
Report 151, 96 Congress, 1 Session). The requirement that a DPS be significant is intended to carry out the expressed
congressional intent that this authority be exercised sparingly as well as to concentrate efforts undertaken under the Act
on avoiding important losses of genetic diversity (R. D. Thornton, pers. comm.). The measures of discreteness and
significance serve decidedly different purposes in the policy. The interests of conserving genetic diversity would not be
well served by efforts directed at insignificant units. Therefore, if a population segment is considered discrete under one
or more of the above conditions, its biological and ecological significance will then be considered in light of
Congressional guidance (see Senate Report 151, 96th Congress, 1st Session) that the authority to list DPS’s be used
sparingly while encouraging the conservation of genetic diversity” [25].
    In my opinion, Theimer et al. [12] misrepresent how the USFWS interpreted the DPS and misinterpret this part of
the ESA and subsequent amendments. Specifically, contra Theimer et al. [12], the ESA does not state that “gene flow
among adjoining populations will necessarily result in a complex boundary where genes and the phenotypic traits
associated with them intergrade, making designations of subspecies and DPS boundaries difficult” [12]. Theimer et al.
[12] further imply that the amendment means that “genes and phenotypic traits may move between adjoining subspecies
at different rates and unequally in different directions, often yielding complex, indistinct boundaries between
populations.” Congress did not set forth such specific expectations for subspecies or DPSs, and it is important to
recognize that these “predictions” stem from Theimer et al.’s [12] personal interpretation. It appears that this
redefinition of the ESA was made by Theimer et al. [12] to fit the data for the specifics of the SWWF. In fact, all that
the language of the 1973 amendment means is that there is interbreeding among individuals or populations within
DPSs, not that separate DPSs or subspecies interbreed when mature.
    Based on their idiosyncratic interpretation of Congressional intent in the 1973 amendment, Theimer et al. [12]
conclude that the expectation is that “Within a subspecies boundary area, however, some traits should show a nonlinear
break in frequency over geographic space (step clines) that would distinguish a subspecies boundary from the gradual,
linear change in genetic and phenotypic frequencies (smooth clines) found in many species…”. This too is language not
found in the ESA or its amendments. Furthermore, what this statement does not point out is that this is the bane of past
subspecies descriptions as it leaves open the possibility of describing a subspecies based on one or a small set of
characters and ignoring conflicting information.

MATERIAL AND METHODOLOGY
    Throughout their commentary Theimer et al. [12] select subsets of existing data or localities (or both) in their



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attempt to garner support for E. t. extimus. In my opinion, the task is not to find some subset of characters that vary
geographically in a particular way, but whether the subspecies exists in these data sets in the first place. Hence, I
concentrate on analyses that include all characters and localities.

RESULTS AND DISCUSSION

Molecular Data and C-group Haplotypes
    Theimer et al. [12] noted that Zink [11] plotted the relationship between latitude and the predicted C-group
haplotypes, which Paxton et al. (2008) computed from joint consideration of latitude and elevation, rather than the
actual frequency of these haplotypes. Paxton et al. [26] suggested that their predicted C-group frequencies (right-most
column in their Table 1) better reflect the pattern of variation, but in their Figure 3, they instead plotted observed
frequencies. Theimer et al. [12] claim that the latter plot reveals a step cline and their modeling suggests it is consistent
with the boundaries some have proposed for E. t. extimus. I show both plots simultaneously (Fig. 1) and do not observe
a discrete boundary in either plot. However, I would argue that in fact neither analysis is relevant. The “c-group”
haplotypes include just 4 of 33 haplotypes found in that area. Because the entire mitochondrial genome (e.g., all 33
haplotypes) is inherited as a single linkage group, there cannot be different signals in different regions of Cytb (or the
entire mitogenome). Therefore, a more important question is whether a geographic signal consistent with subspecies
limits is apparent in the entire Cytb data set.




                      1
                    0.9                                                              C-group
                    0.8                                                              predicted
                                                                                     C-group
                    0.7                                                              observed%
        Frequency




                    0.6
                    0.5
                    0.4
                    0.3
                    0.2
                    0.1
                     0
                          32 33 34 35 36 37 38 39 40 41 42 43
                                                      Latitude (o)

Fig. (1). Plot of C-group haplotypes that were adjusted by Paxton et al. [26] using a function of latitude and elevation, and raw values
(C-group observed). With the exception of one outlier, the two plots suggest no step-cline between E. t. adastus and E. t. extimus.


    Zink [11] performed but did not show a phylogenetic analysis of 93 mtDNA Cytb haplotypes deposited in Genbank,
but not analyzed by, E. Paxton. According to Paxton et al. [27], these haplotypes came from breeding birds sampled in
New York, Tennessee, Illinois, North Carolina, Virginia, North Dakota, South Dakota, Minnesota, and Maryland,
Washington, Oregon, and California. The 93 Genbank haplotypes include those used by Paxton et al. [26]. Given




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Theimer et al.’s [12] concern, Fig. (2) shows that there is no support for E. t. extimus, or any other subspecies.




Fig. (2). Topology of bootstrap (1000 replications) neighbor-joining tree constructed with Mega6 [37] of 93 Cytb haplotypes for
Willow Flycatcher deposited in Genbank (distance measure p-distance), rooted with E. alnorum. Haplotype codes are from [26, 27].
A haplotype followed by an “e” indicates it was found in a population assigned by Paxton et al. [26] to E. t. extimus, and “a” to
E. t. adastus, and “e,a” represents a haplotype found in individuals of both subspecies. Although it is not possible to determine the
geographic location of other haplotypes (the two MVZ specimens were collected by the author in Minnesota), they were found in
breeding individuals taken throughout the range and representing all subspecies [27]. No node received > 60% bootstrap support
(those with 50-60% support were groups of two or three haplotypes), showing that none of the four subspecies could be supported
irrespective of the geographic locality or subspecies.


     Subsampling data can lead to biased interpretations. For example, Figure 2C of Theimer et al. [12] shows a cline
analysis for 8 populations, but has a potential flaw because it suggests that the haplotype groups A, B, C, and D are
homogeneous. In Fig. (2), it can be seen that the haplotypes from the four haplotype groups are not clades, which is an
assumption in the cline analysis by Theimer et al. [12]; violation of this assumption negates their conclusion. More
importantly, in Fig. (3), I show the figure from Paxton [28, his Figure 2] in which the subspecies membership of the
different haplotypes is indicated. In the inset, it can be seen that Theimer et al. [12] have removed information
identifying taxonomic membership, which in my opinion is a deliberately misleading omission. Like the tree in Fig. (2),
it shows that none of the main groups map onto subspecies. I agree that there is geographic variation, but I do not agree
that there is support for a taxonomic boundary indicated by the center of a cline through a subsample of the samples. In
any case of geographic variation, one will be able to find the center of a cline, but that is not the same as documenting
the existence of a discrete taxon.




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Fig. (3). Network showing relationships among Cytb haplotypes of four subspecies of Willow Flycatcher (from [28]). The color
codes indicate that no subspecies is distinct, even at a level of 75%. The inset shows part of Theimer et al.’s [12] Fig. (2C), where
they reproduce the network from [28] without revealing the mismatch between the network and subspecies.


    A different way to address whether the Cytb data supports E. t. extimus is to evaluate it under the 75% rule [29, 30],
which Theimer et al. [12] suggest as a viable approach. From the geographic distribution of haplotypes shown in Table
2 in Paxton et al. [26], I determined that 12.4% (18 of 145) of individuals could be unambiguously identified as coming
from one of the 13 sites representing E. t. extimus (CAVE, ROOS, SAPE, GILA, GICL, ALPI, ZUNI, LOCI, TOPO,
SEEG, SHIP MCSP, AZUL). By considering only the seven localities within the core of the range (CAVE, ROOS,
SAPE, GILA, GICL, ALPI, ZUNI), the value drops to 6/145 (4.1%). These values fall well short of the 75% needed to
support a subspecies according to 75% Rule [30]. The contrast between these two groupings shows that although
geographic variation exists, there is no discrete boundary. It should also be noted that there is no statistical confidence
intervals associated with this “75%” rule.
    I repeat Paxton et al.’s [26] conclusion “We found no fixed differences between the two subspecies from either
cytochrome-b haplotypes (Table 2) or AFLP polymorphic loci that would allow us to unambiguously distinguish
individuals of one subspecies from the other.” I agree, and the genetic data fail to provide diagnostic or 75% support.

Morphology
     Theimer et al. [12] select characters and localities that might support a subspecies irrespective of the pattern of
variation in the other characters. They show results of cline analyses that show a cline centered over the approximate
boundary used for E. t. adastus and E. t. extimus. I disagree that this represents best practices. The existence of geo-
graphic variation is established, the question is whether the subspecies qualifies as a taxon. In my earlier paper, I
showed a PCA plot with all individuals and characters included, and there is clearly no support for subspecies, at the
75% level or any other level. It can be misleading to choose only characters that support one particular view or another
[6].
    I performed a discriminant function analysis of all six of the date-transformed color characters to evaluate support
for subspecies. Again, there is no support for distinct subspecies considering all localities and characters. In terms of the




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75% rule, no subspecies are supported either (Fig. 4).




Fig. (4). Plot of individual’s scores on Discriminant Function 1 based on six date-corrected coloration characters from [38] showing
no example of a subspecies in which 75% of the individuals are distinct from 99% of the other individuals.


Niche Modeling
    Neither the listing decision nor the subspecies description of E. t. extimus included tests for differences in ecological
parameters. I performed a coarse-grained, but standard (e.g., [31]) test of niche divergence to determine if there might
be support for the subspecies in ecological data, given that the USFWS can use such data in listing decisions especially
for a DPS. I included standard caveats about the role of ecological variables. Theimer et al. [12] provided a critique of
my analysis that could invalidate many published studies (e.g., [32]) if found to be general. But, they instead
constructed a refined test, based on reduced sampling, that they (pg. 293) claim provides “weak evidence of niche
partitioning between flycatcher subspecies…”. This does not provide strong evidence that the subspecies is ecologically
discrete, especially considering they did not test E. t. extimus with samples to the east (E. t. traillii) and west
(E. t. brewsteri). If the standard for recognizing subspecies is “weak evidence” of ecological divergence, then nearly all
allopatric populations will be candidates for protection, an untenable stance scientifically and politically. Lastly, if a one
group of flycatchers does not differ ecologically from geographically adjacent populations of the Yellow Warbler (S.
petechia) then it is unlikely that two conspecific flycatcher populations would differ. The latter test, therefore, is
specious.

Song
    Theimer et al. [12] take subsets of the song data [33] and conclude that there is support for E. t. extimus. I maintain
that the song data suggest geographic variation but are not definitive for subspecies delimitation.

Missing Subspecies Boundaries
    Most assessments of subspecies limits include samples from all relevant forms (e.g., [34]). To date, only the Cytb
tree (Fig. 2) provides such an assessment, and even then, there are unsampled regions. Theimer et al. (2016) base their
assertion of the significance of E. t. extimus primarily on comparisons of it with its northern counterpart, E. t. adastus,
while discounting the significance of whether it is also distinct from E. t. traillii to the east and E. t. brewsteri in the
west. I found that many specimens in Fig. (2) representing E. t. traillii from eastern North America (data not shown)
were classified as E. t. extimus. Thus, it is possible that the latter two subspecies constitute a single unit, which is not
threatened or endangered. A modern thorough study of the entire species is required, but their reanalysis provides no
support for the subspecies.




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Distinct Population Segments
     Theimer et al. [12] mention the category of Distinct Population Segment (DPS). The DPS category was introduced
to biologists in the ESA, whereas at the time, most effort was directed at the “evolutionarily significant unit” and
“management unit” in addition to subspecies [35]. As noted above, a DPS must be distinct and significant to the
species. Because Congress directed the United States Fish and Wildlife Service to use the DPS category sparingly it
would be in my opinion hard to reconcile Congressional direction with the weak, at best, evidence supporting
E. t. extimus. In any event, the southwestern Willow Flycatcher is not listed as a DPS, rather as a subspecies. To
list E. t. extimus as a DPS would require delisting the subspecies, and the filing a petition for listing it as a DPS. In my
opinion, the data fail to support the distinctiveness of the SWWF as a DPS, and hence it is not relevant to pursue
discussion of its significance to the species.

Politics of Publishing on Conservation Topics
    A reviewer of this manuscript remarked that it should be "submitted as a response to Theimer et al.'s paper to
Condor, where the debate was initiated ... and should continue". Indeed, the editor of The Condor: Ornithological
Applications, declined to consider reviewing the manuscript, invoking a policy put in place after the Zink [11] paper
was submitted that states that authors of Commentaries (e.g., [11]) "will not typically be offered [the] opportunity" to
respond to a Commentary addressing their original piece. An appeal to the editor and the AOU/COS Joint Publications
Advisory Committee was declined with the comment that "there is no higher authority than the Editor". This policy
leaves open the possibility for editorial bias or prejudice. Although Zink [11] does not obviously fit the criteria for a
"Commentary" as opposed to a "Research Article" (http://www.editorialmanager.com/condor/default.aspx), it was
published by the editor as a Commentary. Thus, adherence to journal policy, and not scientific content (or a decision
based on peer-review), delayed continued and timely discussion on the taxonomy of the southwestern willow flycatcher,
which is currently being considered by the U.S. Fish and Wildlife Service in light of an ESA delisting petition filed
during the time these papers were published and the current manuscript was submitted.

CONCLUSION
    Theimer et al. [12] concluded that “we do not agree that currently available data fail to support the subspecies status
of the endangered Southwestern Willow Flycatcher or its protection under the Endangered Species Act”. I believe that
there is considerable evidence to the contrary, and in my opinion their conclusions stem from using an idiosyncratic
interpretation of the ESA and subsets of the data. Analyses of the entire Cytb and morphological data sets do not meet
the criteria stated by Theimer et al. [12] for a valid subspecies. Ecological and behavioral (song) support is weak at best,
by their own admission. For a subspecies or any geographically defined unit to qualify as a listable unit under the ESA,
it ought to be unambiguously differentiated. I agree that geographic variation exists and that the SWWF is the end of a
clinal pattern of variation, but in my opinion, it does not meet the expectation stated by the USFWS that taxa listed
under the ESA are evolutionarily significant. Some might consider the evidence suggesting a lack of distinctiveness as
“negative” [6]. However, a lack of historical barriers to gene flow leads to the prediction that there will be no discrete
character differences, which the analyses positively support. Thus, this is not a negative result, rather a confirmation of
a particular evolutionary history of SWWF.
    The SWWF refers to populations at the periphery of an otherwise common and widespread species that are clinally
linked with the rest of the populations in North America, where it is not listed. Protection for the riparian habitats that
the flycatcher inhabits is important, but in my opinion reliance on taxonomy of the last century falls short of needed
support for using the SWWF as a flagship [4, 15]. Remsen [1] expressed a similar sentiment: “Is it any wonder,
therefore, that the roster of formal subspecies, most described before the advent of statistical methods in ornithology,
contains many names that refer only to arbitrary points on clines, average differences between populations, or zones of
intergradation (as in T. c. “connectens” in Isler et al. 2005), rather than to discrete entities?” I believe that the AOU
Checklist Committee [23], the recognized taxonomic authority for subspecific variation in North America, was correct
in excluding the southwestern willow flycatcher as a valid subspecies.
    Perhaps a next-generation sequencing approach Harvey MG et al. [36] or a range-wide, thorough morphological
assessment might find support for subspecies that is not supported by existing data sets. But the fact remains that the
best available evidence, analyzed in full, is not supportive of E. t. extimus. I urge agencies tasked with making listing
decisions to base those decisions on analyses that use all available data sets and not subsets of them.




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CONFLICT OF INTEREST
    The author confirms that this article content has no conflict of interest. The author wrote this paper while funded as
a faculty member of UNL but received no other funding to aid in the development or writing of this paper. I followed
the Code of Ethics and Standards for Professional Conduct as outlined and adopted by The Wildlife Society.

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